
LOTTINGER, Judge.
This is a suit filed by Hanover Insurance Company against Frank Hardesty and others wherein petitioner seeks damages as a result of a three car collision.
This matter was one of four consolidated cases which were tried together by the Lower Court after which the Lower Court rendered judgment in favor of petitioner and against defendant in the sum of $933.-66.
For the reasons assigned in our decree this day handed down in suit entitled Jones, et ux versus Lungaro, et al., La.App., 231 So.2d 60 on the docket of this Court, the judgment of the Lower Court will be reversed and there will be judgment herein in favor of the defendants and against petitioner dismissing petitioner’s action at petitioner’s cost.
Judgment reversed.
